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AO 2450       (Rev. 11/16) Judgment in a Criminal Case for Revocations
              Sheet 1
                                                                                                                        FILED
                                           UNITED STATES DISTRICT COURT                                                 MAY 3 1 2017

               UNITED STATES OF AMERICA
                                        District Of South Dakota, Northern Division
                                                             )
                                                                   JUDGMENT IN A CRIMINAL CASE
                                                                                                                        ~~
                                                             )
                                                                   (For Revocation of Probation or Supervised Release)
                             v.                              )
                                                             )
                    Adjoni Archambault                       )     Case Number:         1: 13CR10040-l
                     a/k/a Adjoni Jones                      )
                                                             )     USM Number:          13056-273
                                                             )     Jana M. Miner
                                                                                 Defendant's Attorney
THE DEFENDANT:
•   admitted guilt to violation(s) #1, #2, #3, #4, and #5 of the Petition to Revoke Supervised Release.

o   was adjudicated guilty by the Court ofviolation(s) # of the after a denial of guilt.

The defendant is adjudicated guilty of these violation(s):

Violation Number           Nature of Violation                                                                Violation Ended
        1                  Did purchase, possess, use, distribute, or administer a controlled substance, in   0812012016
                           that she disclosed she ingested methamphetamine, in violation of Standard
                           Condition #7.
          2                Did purchase, possess, use, distribute, or administer a controlled substance, in   01/13/2017
                           that she disclosed she ingested methamphetamine, in violation of Standard
                           Condition #7.
          3                Did purchase, possess, use, distribute, or administer a controlled substance, in   02/11/2017
                           that she disclosed she ingested methamphetamine, in violation of Standard
                           Condition #7.
          4                Did engage in conduct which constitutes a violation of tribal law, that is,        02/11/2017
                           Criminal Possession of Drugs, in violation of the Mandatory Conditions.
          5                Did engage in conduct which constitutes a violation of tribal law, that is,        02/11/2017
                           Possession of Drug Paraphernalia, in violation of the Mandatory Conditions

The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
•   The alleged violation(s) #6, #7, #8, #9, and #IO of the Petition to Revoke Supervised Release are dismissed.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully paid. If ordered to pay
restitution, the defendant must notify the Court and United States attorney of material changes in economic circumstances.

                                                                          0_2/1112017_ --- - -
                                                                          Date oflmposition of Judgment




                                                                          C_harl~   B.J(Q_ll!_mitnn, Uniteq_States District Ju.~d=g~e_ _ __
                                                                          Name and Title of Judge
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AO 245D   (Rev. 11/16) Judgment in a Criminal Case for Revocations
          Sheet 2 - Imprisonment



DEFENDANT:                     Adjoni Archambault a/k/a Adjoni Jones
CASE NUMBER:                   I: l 3CRI 0040-1


                                                                     IMPRISONMENT

      •    The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
              total term of:   24 months.

      o       The Court makes the following recommendations to the Bureau of Prisons:




      •       The defendant is remanded to the custody of the United States Marshal.


      o       The defendant shall surrender to the United States Marshal for this district:

          D       at                                  D      a.m.     D    p.m.    on

          o       as notified by the United States Marshal.


      o       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          D       before 2 p.m. on

          o       as notified by the United States Marshal.

          o       as notified by the Probation or Pretrial Services Office.


                                                                          RETURN
 I have executed this Judgment as follows:




          Defendant delivered on                                                               to

 at                                                       ,with a certified copy of this Judgment.

                                                                                               -     --   - - - - - - - -
                                                                                                           UNITED STATES MARSHAL_ _ _ _ _ - - -



                                                                                  By

                                                                                                   - - - - - - - - - - - -
                                                                                                      DEPUTY UNITED STATES MARSHAL- - - - -   -
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AO 2450   (Rev. 11/16) Judgment in a Criminal Case for Revocations
          Sheet 3 - Supervised Release

DEFENDANT:                    Adjoni Archambault a/k/a Adjoni Jones
CASE NUMBER:                  I: l 3CRI 0040-1
                                                            SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:          2 years.


                                                       MANDATORY CONDITIONS
 l.   You must not commit another federal, state, local, or tribal crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
          D        The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse. (Check, if applicable.)
4.    •   You must cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
5.    D   You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
          directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work,
          are a student, or were convicted of a qualifying offense. (Check, if applicable.)
6.    D   You must participate in an approved program for domestic violence. (Check. if applicable.)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 2450   (Rev. 11/16) Judgment in a Criminal Case for Revocations
          Sheet 3A - Supervised Release

 DEFENDANT:                   Adjoni Archambault a/k/a Adjoni Jones
 CASE NUMBER:                 I: 13CRI 0040-1
                                         STANDARD CONDITIONS OF SUPERVISION
 As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
 because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
 officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 I.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
 2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
 4.   You must answer truthfully the questions asked by your probation officer.
 5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware ofa change or expected change.
 6.   You must allow the probation officer to visit you at reasonable times, at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least I 0 days before the change. If notifying the probation officer at least I 0
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
      aware of a change or expected change.
 8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
 9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 IO. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
     designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
 I I. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
 I2. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
     require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
     person and confirm that you have notified the person about the risk.
 I 3. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised Release
Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                         Date
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AO 2458   (Rev. 11/16) Judgment in a Criminal Case
          Conditions of Supervision



DEFENDANT:                Adjoni Archambault a/k/a Adjoni Jones
CASE NUMBER:              1: 13CR10040-1

                                         SPECIAL CONDITIONS OF SUPERVISION


I. The defendant shall reside and participate in a residential reentry center if and as directed by the probation office.
   The defendant shall be classified as a prerelease case.

2. The defendant shall not consume any alcoholic beverages or intoxicants. Furthermore, the defendant shall not
   frequent establishments whose primary business is the sale of alcoholic beverages.

3. The defendant shall submit a sample of her blood, breath, or bodily fluids at the discretion or upon the request of the
   probation office.

4. The defendant shall participate in a program approved by and at the direction of the probation office for treatment of
   substance abuse.

5. The defendant shall participate in and complete a cognitive behavioral training program if and as directed by the
   probation office.

6. The defendant shall undergo inpatient/outpatient psychiatric or psychological treatment, if and as directed by the
   probation office. The defendant shall take any prescription medication as deemed necessary by a medical doctor.

7. The defendant shall participate in parenting classes if and as directed by the probation office.
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AO 2450       (Rev. 11/16) Judgment in a Criminal Case for Revocations
              Sheet 5 - Criminal Monetary Penalties


DEFENDANT:                              Adjoni Archambault a/k/a Adjoni Jones
CASE NUMBER:                            I: 13CR10040-1

                                                    CRIMINAL MONETARY PENALTIES
     You must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                    Assessment            JVTA Assessment*          Fine                           Restitution
ORIGINAL TOTALS                     $100                                            None                           None

PRINCIPAL
BALANCE DUE                         $75

 o     The determination of restitution is deferred until.
       An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

 D        You must make restitution (including community restitution) to the following payees in the amount listed below.

      If you make a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the
      priority order or percentage payment column below. However, pursuant to I8 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.
 Name of Payee                                      Total Loss**          Restitution Ordered             Priority or Percentage




 TOTALS                                                      $                             $
                                                                                               --------
 o        Restitution amount ordered pursuant to Plea Agreement $

 D        You must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the Judgment, pursuant to I8 U.S.C. § 36I2(t). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to I8 U.S.C. § 36I2(g).

 D        The Court determined that you do not have the ability to pay interest and it is ordered that:

          D        the interest requirement is waived for the            o   fine    D      restitution.

          D        the interest requirement for the          o      fine     D      restitution is modified as follows:




*Justice for Victims of Trafficking Act of20I5, Pub. L. No. I I4-22.
* * Findings for the total amount of losses are required under Chapters 109A, I I 0, I I OA, and I I 3A of Title I 8 for offenses committed on
or after September I3, I994, but before April 23, I996.
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                                                                                     Judgment

AO 2450     (Rev. 11/16) Judgment in a Criminal Case for Revocations
            Sheet 6- Schedule of Payments


DEFENDANT:                           Adjoni Archambault a/k/a Adjoni Jones
CASE NUMBER:                         I: 13CRI 0040-1


                                                            SCHEDULE OF PAYMENTS
Having assessed your ability to pay, payment of the total criminal monetary penalties is due as follows:

A     •       Lump sum payment of$            100                      due immediately, balance due


             D      not later than                                          , or

             D      in accordance with         D      C,     D         D,      D      E, or        D   F below; or


 B    D       Payment to begin immediately (may be combined with                      D       C,       D   D,or      D   F below); or

C             Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $
      0                                                                                                                  -----


              to commence                                                     (e.g., 30 or 60 days) after the date of this Judgment; or

D             Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $
      0
              to commence                                                     (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

              Payment of the total restitution and other criminal monetary penalties shall be due in regular quarterly installments of 50% of the
 E    D       deposits in the defendant's inmate trust account while the defendant is in custody, or 10% of the defendant's inmate trust account
              while serving custody at a Residential Reentry Center. Any portion of the monetary obligation(s) not paid in full prior to your
              release from custody shall be due in monthly installments of$, such payments to begin days following your release.


 F    D       Special instructions regarding the payment of criminal monetary penalties:




 Unless the Court has expressly ordered otherwise, if this Judgment imposes imprisonment, payment of criminal monetary penalties is due
 during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
 Inmate Financial Responsibility Program, are made to the clerk of the court.

 You shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 D        Joint and Several
          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
          and corresponding payee, if appropriate.



 D        You shall pay the cost of prosecution.

 D        You shall pay the following court cost(s):

 D        You shall forfeit your interest in the following property to the United States:


 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
